                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                               NORTHERN DIVISION

W. MARK HAMM, DR. BIJU OOMMEN                       )
AND DR. CHRISTOPHER LOCKHART,                       )
INDIVIDUALLY AND DERIVATIVELY                       )
ON BEHALF OF HELPP INCORPORATED                     )
DBA HELPP.AI,                                       )
                                                    )
       Plaintiffs,                                  )
                                                    )
v.                                                  )      Case No. ______________
                                                    )
BROOKS WOOD, DR. HARVEY CASTRO,                     )      JURY TRIAL DEMAND
AND HELPP INCORPORATED DBA                          )
HELPP.AI,                                           )
                                                    )
       Defendants.                                  )

                                        COMPLAINT

       Plaintiffs W. Mark Hamm (“Mr. Hamm”), Dr. Biju Oommen (“Dr. Oommen”), and Dr.

Christopher Lockhart (“Dr. Lockhart”) (collectively, “Plaintiffs”), individually and derivatively

on behalf of Helpp Incorporated dba Helpp.ai (“Helpp.ai”), state as follows for their Complaint

against Defendants Brooks Wood (“Mr. Wood”), Dr. Harvey Castro (“Dr. Castro”), and Helpp.ai

(collectively, “Defendants”):

                                     NATURE OF CASE

       1.      This is a securities fraud lawsuit in which Defendants Mr. Wood and Dr. Castro

fraudulently induced Plaintiffs to become investors in Defendant Helpp.ai by making various

misrepresentations and omissions of material fact which they knew to be false. To compound

matters, after defrauding Plaintiffs into investing in the company, Defendant Mr. Wood breached

his fiduciary duties as an officer and controlling stockholder and also caused Helpp.ai to breach




Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 1 of 19 PageID #: 1
its contractual obligations to Plaintiffs by grossly mismanaging Helpp.ai’s financial affairs and

using company funds for personal expenditures.

                                         THE PARTIES

       2.      Mr. Hamm is a resident and citizen of the State of Tennessee. At all relevant times

herein, Mr. Hamm lived and maintained his principal place of business in Knoxville, Tennessee.

Mr. Hamm has about 25 years of experience in the healthcare industry and has served as the CEO

of multiple healthcare companies.

       3.      Dr. Oommen is a resident and citizen of the State of Texas. Dr. Oommen has been

a licensed medical doctor since 1996 and specializes in geriatric medicine.

       4.      Dr. Lockhart is a resident and citizen of the State of Texas. Dr. Lockhart has been

a licensed medical doctor since 1991 and specializes in internal medicine.

       5.      Mr. Wood is a resident and citizen of the State of Colorado. Mr. Wood is the co-

founder, President, CEO, and Executive Chairman of Helpp.ai. Additionally, Mr. Wood and his

wife Lauryn Wood are the controlling stockholders of Helpp.ai, with each owning 40.954% of the

outstanding stock in the company.

       6.      Dr. Castro is a resident and citizen of the State of Texas. Dr. Castro is the “Chief

Medical AI Officer” of Helpp.ai. On information and belief, Dr. Castro is also a stockholder of

Helpp.ai, either individually or through an entity he owns and/or controls. At all relevant times

herein, Dr. Castro has held himself out as an expert in the use of Artificial Intelligence (“AI”) in

healthcare applications. On his personal website, www.harveycastromd.com, Dr. Castro states:

       Welcome to the home of Dr. Harvey Castro, an esteemed innovator at the forefront
       of artificial intelligence (AI) in healthcare. As a physician, entrepreneur, and
       consultant, Dr. Castro harnesses AI to transform healthcare practices, improve
       patient outcomes, and streamline operations.




                                    2
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 2 of 19 PageID #: 2
       7.      Helpp.ai is a company existing under the laws of the State of Delaware and has its

principal place of business located in Denver, Colorado. Helpp.ai can be served through its

registered agent for service of process, The Corporation Trust Company, Corporation Trust Center,

1209 Orange Street, Wilmington, DE 19801.

                                JURISDICTION AND VENUE

       8.      Pursuant to 28 U.S.C. § 1331, the Court has subject matter jurisdiction over

Plaintiffs’ claim under the Securities Exchange Act of 1934, 15 U.S.C. § 78j and Rule 10b-5, 17

C.F.R. § 240.10b-5.

       9.      Pursuant to 28 U.S.C. § 1367, the Court has supplemental jurisdiction over

Plaintiffs’ state law claims because those claims arise from and form part of the same controversy

from which Plaintiffs seek relief on their federal law claim.

       10.     The Court has personal jurisdiction over each of Defendants because they have

transacted business in Tennessee (including in Knoxville), engaged in at least some of the wrongful

acts alleged herein in Tennessee, engaged in at least some of the wrongful acts alleged herein

outside of Tennessee that have caused Mr. Hamm to suffer harm within Tennessee, and/or directed

their wrongful acts alleged herein to Mr. Hamm in Tennessee (including in Knoxville).

       11.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(2) and (b)(3).

                                  FACTUAL BACKGROUND

       12.     Beginning around 2013, Mr. Hamm participated in developing innovative software

for use in hospital emergency rooms. In 2023, with the advent of AI technology, Mr. Hamm was

considering developing an improved, AI-based version of that software.

       13.     In November 2023, Mr. Hamm was introduced to Dr. Castro on a conference call

held in connection with a physician executive MBA program at the University of Tennessee.




                                    3
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 3 of 19 PageID #: 3
During that call, Dr. Castro represented that he had been an emergency room doctor and was an

expert in AI software for use in healthcare applications. Based on Dr. Castro’s stated background,

Mr. Hamm later contacted Dr. Castro to discuss his proposed software project. During their

discussions, Dr. Castro recommended that Mr. Hamm also meet with Mr. Wood, who Dr. Castro

represented was similarly an expert in AI software for use in healthcare applications.

       14.     Beginning in late November 2023, Mr. Hamm, Mr. Wood, and Dr. Castro had

multiple telephone conversations and exchanged multiple emails. During their communications,

Mr. Wood and Dr. Castro represented that Mr. Wood was one of the co-founders of Helpp.ai, that

Mr. Wood was the President, CEO, and Executive Chairman of Helpp.ai, and that Dr. Castro was

the Chief Medical Officer of Helpp.ai, which they referred to as the “Chief Medical AI Officer.”

Mr. Hamm later learned that Dr. Castro’s role also included soliciting potential investors in

Helpp.ai.

       15.     Mr. Wood and Dr. Castro represented that Helpp.ai had developed a product that

could accurately predict and prevent patients in hospitals and other settings from falling, including

falling in what are referred to as “unassisted bed exits.” Mr. Wood and Dr. Castro represented that

Helpp.ai’s product consisted of “computer vision” cameras that can monitor patients in their beds

and AI-driven software that can accurately predict when a patient is going to try to exit the bed or

otherwise fall and then promptly alert nursing staff.

       16.      Based on his background in the healthcare industry, Mr. Hamm knew that patient

falls in hospitals and long-term care settings, such as nursing homes, are quite common and present

an enormous problem for healthcare administrators, because they can lead to serious injuries and

even deaths and create potential legal liability for healthcare facilities. Thus, Mr. Hamm believed




                                    4
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 4 of 19 PageID #: 4
that a product that could accurately and effectively prevent patient falls would have commercial

value.

         17.   During their discussions, Mr. Wood and Dr. Castro sought to convince Mr. Hamm

to defer his own AI software project and join Helpp.ai’s executive team as the CEO. Mr. Wood

and Dr. Castro represented that they believed that, based on his background, Mr. Hamm could help

them grow the company. Mr. Wood and Dr. Castro also sought to convince Mr. Hamm to invest

money and become a stockholder in the company.

         18.   Based on Defendants’ representations regarding Helpp.ai’s product and its

capabilities, Mr. Hamm expressed interest in becoming the company’s CEO and possibly investing

in the company. Indeed, based on Defendants’ representations, Mr. Hamm put Mr. Wood and Dr.

Castro in contact with Dr. Oommen and Dr. Lockhart as additional potential investors in the

company. Just like Mr. Hamm, based on their personal experience in hospitals and nursing homes,

Dr. Oommen and Dr. Lockhart knew that patient falls are a significant problem in the healthcare

industry and that a product that could accurately predict and effectively prevent them would have

commercial value.

         19.   From late November 2023 forward, Mr. Wood and Dr. Castro emailed Plaintiffs

PowerPoint presentations, a written business plan, and other documents which contained the

following representations, among others:

               a. Helpp.ai’s product had been demonstrated to eliminate over 90% of falls and

                    related injuries and deaths;

               b. Helpp.ai’s product was in place in several hospitals in Georgia and Texas and

                    that the hospitals had budgeted to purchase additional units “housewide;”




                                    5
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 5 of 19 PageID #: 5
               c. Helpp.ai’s early successes allowed the company to market its product to large

                   healthcare facilities in Connecticut and Massachusetts;

               d. Helpp.ai was projecting sales for fiscal year 2025 of $2,500,000 and sales for

                   fiscal year 2026 of $25,000,000, all with a profit margin above 80%;

               e. Helpp.ai’s co-founders, including Mr. Wood and his wife, were only drawing

                   minimal salaries so that company funds could be used to grow the company;

                   and

               f. Helpp.ai had already developed a network of distributors and highly trained

                   healthcare experts across the country who were actively marketing and selling

                   the company’s products.

       20.    On March 20, 2024, on a conference call with Plaintiffs designed to convince them

to invest in Helpp.ai, Mr. Wood and Dr. Castro went through the written materials they previously

provided and repeated the same representations as set forth above. Additionally, on that call,

Defendants further represented:

               a. Helpp.ai was about to receive an order from a large hospital in Houston for

                   units sufficient to monitor 100 patient beds;

               b. Helpp.ai had recently installed one of its units at a large hospital in

                   Connecticut, and the hospital had already budgeted the purchase of additional

                   units sufficient to monitor patient 500 beds; and

               c. Helpp.ai’s distributors were already installing Helpp.ai’s units for customers

                   and providing customers with training, maintenance, and ongoing support.

       21.    In sum, Mr. Wood and Dr. Castro repeatedly represented that Helpp.ai was an

active and ongoing business operation, that Helpp.ai had an existing commercial product and the




                                    6
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 6 of 19 PageID #: 6
product had been thoroughly tested for performance characteristics, that Helpp.ai’s product had

actually been installed and was in operation at various hospitals across the United States, that

Helpp.ai had already received purchase commitments from various customers, and that Helpp.ai

had a robust distribution and support network already in place. Indeed, consistent with these

representations, at the time Plaintiffs filed this Complaint, Dr. Castro described Helpp.ai on his

Linkedin profile as follows:




         22.      Based on Defendants’ representations, Plaintiffs each agreed to invest $250,000.00

in Helpp.ai, for a combined total of $750,000.

         23.      Instead of issuing Plaintiffs a direct equity interest in the company, Defendants

represented that it would be easier and more cost-effective for the parties to enter a post-money

SAFE (Simple Agreement for Future Equity) pursuant to which Plaintiffs would invest their funds

and have rights to convert their SAFE to equity shares upon certain terms in the future.

         24.      On or about March 26, 2024, each of the Plaintiffs and Helpp.ai entered into a

separate “Carta Post-Money SAFE (Simple Agreement for Future Equity).”1 A true and correct



1
 Each of the Plaintiffs’ agreements is referred to herein as a “SAFE.” Plaintiffs’ agreements are referred to herein
collectively as “SAFEs.”


                                    7
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 7 of 19 PageID #: 7
copy of Mr. Hamm’s SAFE is attached hereto as Exhibit A. The terms of Dr. Oommen’s and Dr.

Lockhart’s SAFE, copies of which Defendants already possesses, are identical.

        25.     The SAFEs provide that in exchange for Plaintiffs’ investments, the SAFEs would

automatically convert into a certain number of shares of preferred stock in the event that Helpp.ai

issues or sells preferred stock in the aggregate amount of at least $1,000,000.00 The SAFEs further

provide that each of the Plaintiffs would be entitled to certain proceeds and/or benefits in the event

of a change of control, direct listing, or initial public offering.

        26.     Section 7(h) of each of the SAFEs provides: “The Company shall use the proceeds

of this SAFE solely for the operations of its business, and not for any personal, family, or

household purposes.”

        27.     In conjunction with Plaintiffs’ investments, Mr. Wood and Dr. Castro agreed that

Mr. Hamm would serve as Helpp.ai’s acting CEO, while Mr. Wood would remain the president

and Dr. Castro would remain the Chief Medical Officer. As it turned out, however, Mr. Hamm

was the CEO in name only. Mr. Wood continued to operate the company and take actions without

Mr. Hamm’s knowledge, input, or approval, including handling the company’s financial affairs.

        28.     By June 2024, Mr. Hamm discovered that practically everything Mr. Wood and Dr.

Castro had represented to Plaintiffs prior to their investments in the company was completely false.

        29.     Defendants’ representations that Helpp.ai had its product installed and in use at

multiple hospitals around the country was a complete fabrication. By June 2024, Helpp.ai did not

have a single product installed and in use at any medical facility.

        30.     Defendants’ representations that Helpp.ai had secured commitments from hospitals

for the purchase of Helpp.ai’s product was also a complete fabrication. By June 2024, Helpp.ai

had not secured any such commitments from any customer or potential customer.




                                    8
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 8 of 19 PageID #: 8
       31.     Defendants’ representation that Helpp.ai’s product had been demonstrated to

eliminate over 90% of falls and related injuries and deaths also was a complete fabrication. After

Plaintiffs made their investments, and upon discovering that Defendants had made certain

misrepresentations to Plaintiffs, Mr. Hamm’s repeatedly requested that Mr. Wood provide data

that would support that assertion or that would show that Helpp.ai’s product had been subjected to

any type of testing to assess its functionality or accuracy in predicting patient falls. However, Mr.

Wood failed to provide any such information. On information and belief, contrary to Defendants’

assertions, Helpp.ai does not have an operational product that can predict or prevent patient falls.

       32.     Defendants’ representation that Helpp.ai had a robust distribution network that had

already installed Helpp.ai’s products at customer locations was also a complete fabrication. Again,

by June 2024, Helpp.ai did not have a single product installed and in use at any medical facility.

       33.     Mr. Hamm also discovered that Mr. Wood had engaged in numerous financial

irregularities, both before and after Plaintiffs invested in the company, all during periods in which

Helpp.ai had limited available cash.

       34.     For example, Helpp.ai’s records showed that Mr. Wood used $55,879 of the

company’s funds to purchase an Infiniti vehicle that had no business purpose, but instead, was for

Mr. Wood’s personal use.

       35.     As another example, despite Defendants’ representation that Mr. Wood and his wife

were only taking minimal salaries, Helpp.ai’s records showed that Mr. Woods was routinely

making substantial transfers of funds—often in round dollar figures—from the company’s bank

account to his personal bank account at Chase Bank and to another bank account at Chase Bank,

the owner of which is currently unknown. On information and belief, these transfers were made

by Mr. Woods to accounts he owns and controls for his own personal benefit.




                                    9
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 9 of 19 PageID #: 9
        36.     As another example, Helpp.ai’s records showed that the payees on certain transfers

 of funds were left blank. When Mr. Hamm pressed Mr. Wood to explain these items, Mr. Wood

 failed to do so. Instead, Mr. Wood accessed Helpp.ai’s accounting program and manually added

 alleged payees, raising a red flag as to their legitimacy. On information and belief, these transfers

 were made by Mr. Woods to accounts he owns and controls for his own personal benefit.

        37.     When Mr. Hamm requested that Mr. Wood provide invoices and receipts for

 various company expenditures, Mr. Wood sent Mr. Hamm an email stating: “I am more than

 willing to provide invoices and receipts.” However, Mr. Wood failed to do so. When Mr. Hamm

 continued to press Mr. Wood, Mr. Wood blocked Mr. Hamm’s continued access to Helpp.ai’s

 accounting software. Finally, on June 13, 2024, Mr. Wood sent Mr. Hamm an email revoking the

 offer for Mr. Hamm to be the CEO of the company, stating:




                                     10
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 10 of 19 PageID #: 10
        38.     Upon discovering Defendants’ wrongful actions, Plaintiffs demanded that Mr.

 Woods return the money they invested in Helpp.ai. Mr. Wood ignored that request. Instead, Mr.

 Wood sent Mr. Hamm an email demanding that Mr. Hamm “cease and desist” from making what

 Mr. Woods wrongly characterized as “false and defamatory” statements regarding Helpp.ai. On

 information and belief, Mr. Woods sent this email for the purpose of attempting to silence Mr.

 Hamm and deter him from advising other investors in Helpp.ai of Defendants’ wrongful actions.

        39.     Plaintiffs did not make a demand on Helpp.ai’s Board to bring this action against

 Defendants because such a demand would have been futile. Mr. Wood is the Executive Chairman

 of the Board, and Mr. Wood’s wife is one of two additional directors. Mr. Wood has already

 effectively rebuffed Plaintiffs’ efforts to resolve this matter. Thus, it was reasonable for Plaintiffs

 to assume that Mr. Wood and his wife would similarly rebuff any demand to pursue an action

 against Mr. Wood.

                                              COUNT I

  Violation of the Securities Exchange Act of 1934, 15 U.S.C. § 78j, et seq. and Rule 10b-5, 17

                                         C.F.R. § 240.10b-5

                                 (Asserted Against All Defendants)

        40.     Plaintiffs restate the allegations set forth above and incorporate those allegations

 herein by reference.

        41.     Plaintiffs’ SAFEs constitute securities under the Securities Exchange Act of 1934,

 15 U.S.C. § 78j, et seq. and Rule 10b-5, 17 C.F.R. § 240.10b-5.

        42.     Defendants disseminated and approved by means or instrumentality of interstate

 commerce the false and misleading representations to Plaintiffs alleged herein and engaged in the

 manipulative and deceptive acts alleged herein to effectuate the sale and purchase of securities.




                                     11
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 11 of 19 PageID #: 11
        43.     Defendants engaged in the deceptive acts and practices alleged herein knowing that

 they were making false representations and omissions of material fact. Alternatively, Defendants

 engaged in the deceptive acts and practices alleged herein with deliberate disregard of the truth

 and the misleading nature of their representations and omissions of material fact.

        44.     Defendants’ misrepresentations and omissions as alleged herein were highly

 material to Plaintiffs in making their decision to invest in Helpp.ai and enter the SAFEs, and those

 misrepresentations and omissions would have been deemed material to the reasonably prudent

 investor. Plaintiffs would never have invested in Helpp.ai or entered the SAFEs had they been

 aware of the true and correct facts.

        45.      Defendants’ deceptive acts and practices as alleged herein operated to perpetuate

 a fraud and deceit upon Plaintiffs.

        46.     In reasonable reliance on Defendants’ misrepresentations and/or omissions of

 material fact, Plaintiffs have suffered injury in that Plaintiffs purchased securities in Helpp.ai that

 have limited or no value.

        47.     In addition to their compensatory damages, Plaintiffs are entitled to punitive and

 exemplary damages based on Defendants’ intentional and willful misconduct.

                                              COUNT II

 Violation of the Tennessee Securities Act of 1980, Tenn. Code Ann. Section 48-1-121, et seq.

                                 (Asserted Against All Defendants)

        48.     Plaintiffs restate the allegations set forth above and incorporate those allegations

 herein by reference.

        49.     Plaintiffs’ SAFEs constitute securities under Tenn. Code Ann. Section 48-1-121, et

 seq.




                                     12
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 12 of 19 PageID #: 12
          50.   Defendants engaged in a device, scheme, or artifice to defraud Plaintiffs in

 connection with the sale and purchase of securities.

          51.   Defendants made untrue statements of material fact or omitted to state material

 facts in connection with Plaintiffs’ investment in Helpp.ai and their entering into the SAFEs.

          52.   Defendants engaged in the deceptive acts and practices alleged herein with an intent

 to deceive, knowing that they were making false representations and omissions of material fact.

          53.   Defendants’ misrepresentations and omissions were highly material to Plaintiffs in

 making their decision to invest in Helpp.ai and enter the SAFEs, and those misrepresentations and

 omissions would have been deemed material to the reasonably prudent investor. Plaintiffs would

 never have invested in Helpp.ai or entered the SAFEs had they been aware of the true and correct

 facts.

          54.    Defendants’ deceptive acts and practices as alleged herein operated to perpetuate

 a fraud and deceit upon Plaintiffs.

          55.   In reasonable reliance on Defendants’ misrepresentations and/or omissions,

 Plaintiffs have suffered injury in that Plaintiffs purchased securities in Helpp.ai that have limited

 or no value.

          56.   In addition to their compensatory damages, Plaintiffs are entitled to punitive and

 exemplary damages based on Defendants’ intentional and willful misconduct.

                                            COUNT III

                        Common Law Fraud and Fraudulent Inducement

                                (Asserted Against All Defendants)

          57.   Plaintiffs restate the allegations set forth above and incorporate those allegations

 herein by reference.




                                     13
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 13 of 19 PageID #: 13
        58.     Defendants made the representations alleged herein for the purpose of inducing

 Plaintiffs to invest in Helpp.ai and to enter the SAFEs.

        59.     Defendants’ representations were false, misleading, and made without a good faith

 basis. Defendants knew or should have known that the representations were false and misleading.

        60.     Plaintiffs reasonably relied on Defendants’ misrepresentations in agreeing to invest

 in Helpp.ai and enter the SAFEs. Plaintiffs would not have done either absent Defendants’

 misrepresentations and omissions of material fact.

        61.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs have

 suffered damages in an amount to be proven at trial.

        62.     In addition to their compensatory damages, Plaintiffs are entitled to punitive and

 exemplary damages based on Defendants’ intentional and willful misconduct.

        63.     Alternatively, Plaintiffs seek rescission of the SAFEs and a return of their

 investment proceeds.

                                            COUNT IV

                           Common Law Negligent Misrepresentation

                                (Asserted Against All Defendants)

        64.     Plaintiffs restate the allegations set forth above and incorporate those allegations

 herein by reference.

        65.     Defendants made the representations alleged herein for the purpose of inducing

 Plaintiffs to invest in Helpp.ai and to enter the SAFEs.

        66.     Defendants failed to exercise reasonable care to verify that the representations they

 made to Plaintiffs were accurate.




                                     14
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 14 of 19 PageID #: 14
        67.      Plaintiffs reasonably relied on Defendants’ representations in agreeing to invest in

 Helpp.ai and enter the SAFEs.        Plaintiffs would not have done either absent Defendants’

 misrepresentations and omissions of material fact.

        68.      As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs have

 suffered damages in an amount to be proven at trial.

                                             COUNT V

                                     Breach of Fiduciary Duty

              (Asserted Individually and Derivatively Against Defendant Mr. Wood)

        69.      Plaintiffs restate the allegations set forth above and incorporate those allegations

 herein by reference.

        70.      As an officer, director, and controlling stockholder of Helpp.ai, Mr. Wood owed

 fiduciary duties of loyalty and care to the company, and also to Plaintiffs and other investors in the

 company. To comply with these duties, Mr. Wood was prohibited from taking any action that

 would: (a) adversely affects the company and/or the value of Plaintiffs’ investment in the

 company, (b) provide himself with preferential treatment at the expense of the company and/or

 Plaintiffs and other investors, and/or (c) unjustly enrich himself at the expense or to the detriment

 of the company and/or Plaintiffs and other investors.

        71.      On information and belief, Mr. Wood knowingly violated his fiduciary duties,

 including his duties of loyalty and care, by putting his personal interests ahead of the interests of

 the company and Plaintiffs and other investors and engaging in conflicted transactions in which

 he wrongfully transferred or caused to be transferred company funds to himself for his own

 personal use and benefit. These transactions had no legitimate business objective but were

 intended solely to enrich Mr. Wood personally and/or his family members.




                                     15
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 15 of 19 PageID #: 15
        72.     As a direct and proximate result of Mr. Wood’s wrongful conduct, the company

 and Plaintiffs have suffered damages in an amount to be proven at trial.

        73.     In addition to their compensatory damages, Plaintiffs are entitled to punitive and

 exemplary damages based on Mr. Wood’s intentional and willful misconduct.

                                            COUNT VI

                                       Breach of Contract

                             (Asserted Against Defendant Helpp.ai)

        74.     Plaintiffs restate the allegations set forth above and incorporate those allegations

 herein by reference.

        75.     Plaintiffs’ SAFEs represent valid and enforceable contracts between Plaintiffs and

 Helpp.ai.

        76.     Section 7(h) of the SAFEs provides: “The Company shall use the proceeds of this

 SAFE solely for the operations of its business, and not for any personal, family, or household

 purposes.”

        77.     On information and belief, Helpp.ai breached the SAFEs by causing proceeds that

 Plaintiffs provided to the company under the SAFEs to be used for the personal, family, or

 household purposes of Mr. Wood and/or his family members.

        78.     As a direct and proximate result of Helpp.ai’s breach, Plaintiffs have suffered

 damages in an amount to be proven at trial.




                                     16
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 16 of 19 PageID #: 16
                                            COUNT VII

     Violation of Tenn. Code Ann. § 47-50-109 and Common Law Inducement to Breach

                                              Contract

                             (Asserted Against Defendant Mr. Wood)

        79.      Plaintiffs restate the allegations set forth above and incorporate those allegations

 herein by reference.

        80.      Mr. Wood was aware of the contractual provisions of the SAFEs between Plaintiffs

 and Helpp.ai.

        81.      On information and belief, Mr. Wood intentionally induced Helpp.ai to breach the

 SAFEs by causing Helpp.ai to use funds that Plaintiffs provided the company under the SAFEs

 for the personal, family, or household purposes of Mr. Wood and/or his family members.

        82.      As a direct and proximate result of Mr. Woods’ wrongful actions, Plaintiffs have

 suffered damages in an amount to be proven at trial.

        83.      In addition to their compensatory damages, Plaintiffs are entitled to punitive and

 enhanced damages based on Mr. Wood’s intentional and willful misconduct.

                                            COUNT VIII

                                      Breach of Oral Contract

                             (Asserted Against Defendants Helpp.ai)

        84.      Plaintiffs restate the allegations set forth above and incorporate those allegations

 herein by reference.

        85.      Mr. Hamm and Mr. Wood, on behalf of Helpp.ai, agreed that during the time Mr.

 Hamm served as the acting CEO of the company, Helpp.ai would reimburse Mr. Hamm for the

 reasonable business expenses he incurred on behalf of and for the benefit of the company.




                                     17
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 17 of 19 PageID #: 17
        86.    During the time that Mr. Hamm served as the acting CEO, he incurred $2,846.16

 in business expenses, which were reasonable and incurred on behalf of and for the benefit of

 Helpp.ai.

        87.    Helpp.ai breached its agreement with Mr. Hamm by refusing to reimburse him

 those expenses.

        88.    As a direct and proximate result of Helpp.ai’s breach, Mr. Hamm has been damaged

 in the amount of $2,846.16. Alternatively, Helpp.ai has been unjustly enriched and should be

 required to repay Mr. Hamm in that amount.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs request that they be granted the following relief as to Defendants,

 and each of them:

    1. Judgment in their favor against Defendants, jointly and severally;

    2. An award of compensatory damages in an amount to be proven at trial;

    3. An award of punitive and exemplary damages in an amount to be proven at trial;

    4. A judgment of rescission of Plaintiffs’ SAFEs and a return of their investment proceeds;

    5. An award of pre-judgement and post-judgment interest as provided by law;

    6. An award of their reasonable attorneys’ fees incurred herein; and

    7. Such other further relief to which Plaintiffs may be entitled.

                                         JURY DEMAND

        Plaintiffs hereby demand a trial by jury on all issues triable by right by jury.




                                     18
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 18 of 19 PageID #: 18
                                    Respectfully submitted:


                                    /s/Michael R. O’Neill
                                    W. Scott Sims (#17563)
                                    Michael R. O’Neill (#34982)
                                    SIMS|FUNK, PLC
                                    3102 West End Ave., Ste. 1100
                                    Nashville, TN 37203
                                    (615) 292-9335
                                    ssims@simsfunk.com
                                    moneill@simsfunk.com

                                    Attorneys for Plaintiffs




                                     19
Case 3:24-cv-00311-KAC-DCP Document 1 Filed 07/23/24 Page 19 of 19 PageID #: 19
